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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                      §
                                                         §
                                   Plaintiff,            §
                                                         §
 vs.                                                     §   Adv. Proc. No. 21-03005-sgj
                                                         §
 NEXPOINT ADVISORS, L.P., JAMES DONDERO,                 §   Case No. 3:21-cv-00880-C
 NANCY DONDERO, AND THE DUGABOY                          §
 INVESTMENT TRUST,                                       §
                                                         §
                                     Defendants.         §




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                                                   §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   §
                                                   §
                                  Plaintiff,
                                                   §   Adv. Proc. No. 21-03004-sgj
                                                   §
 vs.
                                                   §   Case No. 3:21-cv-00881-X
                                                   §
 HIGHLAND CAPITAL MANAGEMENT FUND
                                                   §
 ADVISORS, L.P.,
                                                   §
                                                   §
                                  Defendants.      §
                                                   §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   §
                                                   §   Adv. Proc. No. 21-03003-sgj
                                     Plaintiff,
                                                   §
                                                   §   Case No. 3:21-cv-01010-E
 vs.
                                                   §
                                                   §
 JAMES DONDERO, NANCY DONDERO, AND THE
                                                   §
 DUGABOY INVESTMENT TRUST,
                                                   §
                                                   §
                                     Defendants.
                                                   §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   §
                                                   §
                                 PLAINTIFF,        §   Adv. Proc. No. 21-03006-sgj
                                                   §
                                                   §   Case No. 3:21-cv-01378-N
 VS.                                               §
                                                   §
                                                   §
 HIGHLAND CAPITAL MANAGEMENT SERVICES,             §
 INC., JAMES DONDERO, NANCY DONDERO, AND           §
 THE DUGABOY INVESTMENT TRUST,                     §
                                                   §
                                                   §
                                 Defendants.       §
                                                   §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                   §   Adv. Proc. No. 21-03007-sgj
                                                   §
                                 PLAINTIFF,        §   Case No. 3:21-cv-01379-X
                                                   §
 VS.                                               §
                                                   §
                                                   §
 HCRE PARTNERS, LLC (N/K/A NEXPOINT REAL           §
 ESTATE PARTNERS, LLC), JAMES DONDERO,             §
 NANCY DONDERO, AND THE DUGABOY                    §
 INVESTMENT TRUST,                                 §
                                 Defendants.       §



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     DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
                     CONSOLIDATE THE NOTE CASES

           Defendants1 file this Motion to Consolidate the above-captioned cases and request that this

Court consolidate them (collectively, the “Note Cases”) into Case No. 3:21-cv-00881, to be heard

by the Honorable Judge Starr. Defendants state the following in support:

                                  I.       PRELIMINARY STATEMENT

           1.      The Note Cases all concern promissory notes reflecting loans made by Plaintiff

Highland Capital Management, L.P., who is also the Debtor in Case No 19-34054-sgj11 pending

in the United States Bankruptcy Court for the Northern District of Texas (the "Highland

Bankruptcy") ("Plaintiff-Debtor"). All but one have similar defenses. Although Defendants had

agreed with Plaintiff-Debtor that consolidation was generally warranted, Plaintiff-Debtor moved

solely in Case No. 3:21-cv-1010 to consolidate the Note Cases into that case, submitting their

motion to consolidate only in that case, purposefully leaving the other judges in the dark. Plaintiff-

Debtor’s motion is an improper application of the “first to file” rule and does not promote judicial

efficiency in light of the fact that the Honorable Judge Starr has already been assigned two of the

five above-captioned cases.2 Because Judge Starr already presides over the lowest-numbered case

in Dallas and he already has been assigned two of the five substantially-related Note Cases, as well

as several other cases arising out of the Highland bankruptcy, 3 judicial efficiency is best served if

he were to hear all the Note Cases under Fed. R. Civ. P. 42(a).4                    Moreover Plaintiff-Debtor’s



1
 As used herein, the term “Defendants” includes all named Defendants in the above-captioned proceedings, unless
otherwise specified.
2
    Judge Starr was assigned cases 3:21-cv-00881-X on April 18, 2021, and 3:21-cv-01379-X on June 14, 2021.
3
    These include cases 3:20-cv-03390-X, 3:21-cv-01173-X, 3:21-cv-01295-X, 3:20-cv-01974-X and 3:21-cv-3088.-X.
4
 Defendant Highland Capital Management Fund Advisors, LP (“HCMFA”), however, reserves the right to seek to
have its case tried separately because the issues in that case significantly differ. Because trial of these cases cannot
occur until after Debtor's five motions for summary judgment in the Bankruptcy Court are fully resolved, the issue of
consolidation for trial does not need to be decided now. For the purposes of review of any report and recommendations


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lengthy briefing (and almost 4,000 pages of accompanying exhibits) evidence an improper effort

to pre-sell its characterization of events because there was no need to demonstrate the

appropriateness of consolidation, given Defendants’ prior agreement.

                                              II.      ARGUMENT

           2.      Plaintiff-Debtor filed its motion to consolidate solely in case No. 3:21-cv-01010-

E.5 This violated the Fifth Circuit rule that motions to consolidate in the District Court should be

made to the court presiding over the first-filed case, with copies filed in each case sought to be

consolidated.6

           3.      In the Fifth Circuit, the first-to-file rule serves to avoid duplicative litigation where

multiple cases – even those in the same district but split between several judges – could be

combined when they share substantially similar issues. Save Power Ltd. v. Syntek Fin. Corp., 121

F.3d 947, 950 (5th Cir. 1997) (citing cases and applying the first to file rule to actions split between

different judges in the same district). Further, “…the general rule [is] that the court in which an

action is first filed is the appropriate court to determine whether [and where] subsequently filed

cases involving substantially similar issues should proceed.” Id. at 950 (citing cases). However,

Plaintiff-Debtor here seeks to inappropriately apply that rule to consolidate the above-captioned

cases in the third court before which one of these substantially overlapping proceedings is

pending.7




issued by the Bankruptcy Court, HCMFA joins in seeking consolidation of all of the cases before Judge Starr, where
its case already pends.
5
    See, Case 3:21-cv-01010-E [Doc. 10], Highland Capital Management, L.P.’s Motion to Consolidate Notes Actions.
6
 Per an inquiry to the clerk’s office for the Northern District of Texas, Defendants were advised to file this Motion to
Consolidate in each of the above-captioned cases so that each presiding Judge would be aware of the Motion.
7
 The Honorable Judge Brown received case 3:21-cv-01010 on May 4, 2021, three weeks after cases 3:21-cv-00880
and 3:21-cv-0880 had been assigned to Judges Cummings and Starr on April 18, 2021.


                                                           4
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           4.       Plaintiff-Debtor did not merely move to consolidate, Plaintiff-Debtor filed thirty

pages of briefing and almost 4,000 pages of exhibits in support of its motion. 8 Conspicuously

absent from Debtor's motion was the fact that Defendants had already agreed to consolidate the

Note Cases for the purposes of review of the reports and recommendations that will arise from

Plaintiff-Debtor's soon-to-be-filed motions for summary judgment, and agreed to consolidate four

of the five cases for trial,9 keeping separate only one case – 3:21-cv-00881-X – which raises a

significantly different defense.10 As such, Plaintiff-Debtor’s voluminous briefing detailing its spin

on the facts of the Note Cases in the guise of justifying consolidation was, at best, a waste of the

Court's time, and at worst, a cynical ploy to get its story out in a way that Defendants would have

no opportunity to challenge, unless they too decided to waste the Court's time.

           5.       The lowest cause numbers of the Note Cases in the District Court are 3:21-00880

and 3:21-cv-00881, both filed April 18, 2021, almost a month before case 3:21-cv-01010. Case

3:21-cv-880 is before Senior Judge Cummings in Lubbock and case 3:21-cv-00881 is before Judge

Starr, who also presides over another Note Case, 3:21-cv-01378. Because the purpose of the

consolidation rule is to promote judicial efficiency, Defendants request that the Note Cases be

consolidated before Judge Starr, who already presides over two of the five cases, and several other

cases arising out of the Highland Bankruptcy.

                                                 III.     CONCLUSION

           For all of the foregoing reasons, Defendants respectfully request that their Motion to

Consolidate be granted.

                                                               Dated: December 10, 2021

8
    Id.
9
    See Appx., Exhibit 1, Email from D. Deitsch-Perez to J. Morris, dated December 7, 2021.
10
  See Appx., Exhibit A, Declaration of Deborah Deitsch-Perez in Support of Motion to Consolidate the Note Cases,
dated December 10, 2021, ¶ 4.


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                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on December 10, 2021, a true and correct copy of
the foregoing document was served via the Court’s CM/ECF system on all parties who are
registered to receive notices in this case.

                                                   /s/ Deborah Deitsch-Perez
                                                   Deborah Deitsch-Perez




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